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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Criminal No. 21-CR-464-RCL
                                             :
JON MOTT,                                    :
                                             :
                      Defendant.             :


                  JOINT MOTION TO CONTINUE STATUS HEARING

       The United States, by and through its attorney, and Defendant, by and through his attorney,

(collectively, “the Parties”), respectfully submit this motion to continue the next status hearing,

currently set for November 22, 2021 at 2:00pm, and state as follows:

       1.      On July 13, 2021, Defendant was charged by way of information with (Count One)

Entering and Remaining in a Restricted Building or Grounds in violation of Title 18 U.S.C. §

1752(a)(1); (Count Two) Disorderly and Disruptive Conduct in a Restricted Building or Grounds

in violation of Title 18 U.S.C. § 1752(a)(2); (Count Three) Disorderly Conduct in a Capitol

Building in violation of Title 40 U.S.C. § 5104(e)(2)(D); and (Count Four) Parading

Demonstrating, or Picketing in a Capitol Building in violation of Title 40 U.S.C. § 5104(e)(G).

ECF 14.

       2.      The Defendant has been out on bond since his initial arrest on May 13, 2021.

Defendant remains compliant with conditions of release.

       3.      On May 21st, and on July 23rd, 2021, the parties appeared for video status

conferences in this matter, and the Court ordered the exclusion of time through September 23,

2021. On September 17, 2021, the Court granted an unopposed Motion to Continue and ordered
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the exclusion of time under the Speedy Trial Act through November 22, 2021. The next status

conference in this matter is scheduled for November 22, 2021 at 2:00 pm.

        4.      Since September 17, 2021, the government has provided the defendant with

substantial discovery via USAFx. Such discovery includes: (1) 20 files that are exhibits to

previously produced USCP OPR reports, and a corresponding index; (2) 42 files that consist of

MPD internal investigation reports and exhibits, and a corresponding index; (3) 15 maps of the

U.S. Capitol; (4) Capitol Police radio communications and draft transcripts; (5) 11 digital files to

previously produced USCP OPR reports; (6) a MPD GPS spreadsheet; (7) a camera map of the

Capitol Grounds; (8) 10 aerial surveillance images; (9) 6 demonstration permits; (10) 30 digital

audio files of MPD radio transmissions; (11) a 673-page transcript of the MPD radio transmissions;

and (12) USCP after-action reports, approximately 176 pages, redacted.

        5.      Defense counsel has discussed this motion with Mr. Mott who agrees to the

exclusion of time under the Speedy Trial Act until the date of the rescheduled hearing, as good

cause and the interest of justice outweigh his and the public’s interest in a speedy trial.

        6.      Parties are agreed to a 60-day continuance of this matter and to excluding the time

within which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

Parties believe this time will allow for further production and review of discovery and will

facilitate resolution of this case short of trial.

        WHEREFORE, parties respectfully request that the next status hearing in this matter,

presently scheduled for November 22, 2021, be continued for 60 days and that the Court find that,




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       in the interest of justice, the time between now and the next status hearing be excluded

from the speedy trial calculations.

                                           Respectfully submitted,

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                                           By:              /s/
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                                           A. J. KRAMER
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